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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 MERIDITH JONES,

                        Plaintiff,                        Case No. 1:20-cv-10948

        v.

 FELIX GRAY, INC.,

                        Defendant.


                                     NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Meridith Jones and Defendant Felix Gray, Inc.

have reached an agreement in principle that will resolve the claims alleged in the case, Jones v.

Felix Gray, Inc., Case No. 1:20-cv-10948. Plaintiff anticipates filing a Notice of Voluntary

Dismissal With Prejudice within thirty (30) days of this notice.

       Dated: September 8, 2020              Respectfully Submitted,

                                             /s/ Jason M. Leviton
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: September 8, 2020                          /s/ Jason M. Leviton
                                                   Jason M. Leviton
